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                   UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

TRAVIS WILLIAMS,                            )
                                            )
            Plaintiff,                      )
                                            )
v.                                          )      Case No. 16-cv-786-M
                                            )
LM GENERAL INSURANCE CO.,                   )
                                            )
            Defendant.                      )

          JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), Plaintiff Travis Williams

("Plaintiff"), by and through his counsel of record, Dacia Abel and Luke Abel of

the Abel Law Firm, and Defendant LM General Insurance Company, by and

through its counsel of record, William W. O'Connor and Margo E. Shipley of

Newton, O'Connor, Turner & Ketchum, P.C., hereby stipulate to a dismissal with

prejudice of all of Plaintiff's claims and causes of action in the above-styled and

numbered case, each party to bear their own attorneys' fees and costs.
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                                   Respectfully submitted,

                                   s/Margo E. Shipley
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                                   -AND-

                                   s/Luke Abel*_________________
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                                   WILLIAMS

*Signed by filing attorney with permission of Plaintiff's attorney.




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